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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNJ4
OBCRIAL
UNITED STATES OF AMERICA, Criminal Case No. a -R1666-J

 

)
)
Plaintiff, )
) ORDER UNSEALING COOPERATION
v. ) ADDENDA TO PLEA AGREEMENTS
) AND DISCLOSING CERTAIN GRAND JURY
LINDA SELICK YORK (2) ) MATERIAL UNDER RULE 6(e)
FRANCINE BERGMAN (3), )
)
Defendants. )
)

 

On the Government’s Ex Parte Motion for an order (1) unsealing the cooperation addenda to
the plea agreements of the cooperating defendants in this and related cases so that the Government
may comply with its Brady/Gigiio obligations in advance of the August 30, 2005 trial of the above-
captioned case (hereinafter “this case”), and (2) permitting disclosure, pursuant to Fed. R. Crim. P.
6(e)(3)(C), preliminarily to or in connection with the August 30, 2005 trial, of grand jury testimony
and documents produced to the grand jury or its agents that may be relevant to the charges in this
case, and for good cause shown:

1. IT IS HEREBY ORDERED that the cooperation addenda to the plea agreements of the
below-listed defendants are and shall be unsealed for purposes of the Government’s compliance with
its discovery obligations in advance of trial in this case.

a. Defendants Mark D. McClafferty (1) and Randolph Scott Ross (4) in this case.

Government’s Ex Parte Motion to Unseal

Cooperation Addenda and for Rule 6(e)
Disclosure Order and Order Thereon ah’ 03CR1666-J

 
 

 

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b. Defendants Joel Alan Fein (1), Timothy McNeill Hazzard (2), Grace Na (3) and Bill
Wayne Whitely (4) in United States v, Joel Alan Fein, et al., Criminal Case No. 03CR1011-J.

 

c. Defendant Susan Marie Hogan in United States v. Susan Mane Hogan, Criminal Case
No. 03CR1217-J.

d. Defendant Emmett Ellsworth Moore, Jr., in United States v. Emmett Ellsworth Moore

 

Jr., Criminal Case No. 03CR1281-J.

2. ITIS FURTHER ORDERED that the Clerk of Court shall file a copy of this Order in the
court file in Criminal Case Nos. 03CRI1I011-J, 03CR1217-J and O3CRI2 EH ;

3. IT IS FURTHER ORDERED that the United States may disclose to defense counsel for
defendants YORK (2) and BERGMAN (3) grand jury transcripts of its prospective trial witnesses
and documents obtained pursuant to grand jury subpoena as may be required under Fed. R. Crim.
P. 16, the Jencks Act as codified in Fed. R. Crim. P. 26.2, and Brady/Gighio.

4. IT IS FURTHER ORDERED that all parties in this case may disclose grand jury testimony
and documents to their prospective witnesses for trial

5. ITIS FURTHER ORDERED that all parties in this case may disclose grand jury documents
and transcripts to experts, consultants, contractors, subcontractors and agents, including professional
graphics and litigation support personnel, who will be assisting in said counsels’ preparation for
trial.

IT IS SO ORDERED.

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Dated: 7, WHOS

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Government’s Ex Parte Motion to Unseal
Cooperation Addenda and for Rule 6(e)

Disclosure Order and Order Thereon 5 03CR1666-)

 
